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 Attachment 1
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                                                     655 Fifteenth Street, N.W.
                                                     Washington, D.C. 20005
      Robert R. Gasaway
     To Call Writer Directly:                             (202) 879-5000                                   Facsimile:
         (202) 879-5175                                                                                 (202) 879-5200
 robert.gasaway@kirkland.com                             www.kirkland.com



                                                         April 13, 2012

          By Electronic Mail

          The Honorable Sally Shushan
          United States Magistrate Judge
          United States District Court for the
             Eastern District of Louisiana
          United States Courthouse
          500 Poydras Street
          New Orleans, LA 70130

          Sarah D. Himmelhoch, Esq.
          Environmental & Natural Resources Division
          U.S. Department of Justice
          RFK Main Building
          950 Pennsylvania Ave., N.W.
          Washington, D.C. 20530

                           Re:      MDL No. 2179 — Extrapolating the United States’ Deliberative Process
                                    Privilege Declassifications Across All Privilege Log Entries Related to
                                    Quantification

          Dear Judge Shushan and Sarah:

                  This letter follows up my March 23 letter forwarding a spreadsheet preliminarily
          identifying 13,124 quantification documents withheld by the United States under claims of
          deliberative process privilege.

                 As you will see, we have attached to this letter an updated version of the March 23
          spreadsheet, together with a thought or two about our on-going conversation regarding the
          United States’ deliberative process privilege claims.

                 BP’s Updated Spreadsheet

                  As you know, in the wake of yesterday’s Court Order (Docket 6228), the United States
          now bears a burden of ensuring that its privilege log entries based on deliberative process
          privilege claims relating to Quantification issues reflect valid assertions of the privilege.


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Sarah D. Himmelhoch, Esq.
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        This is true, in principle, because the relevant privilege logs are those of the United
States, not BP. See Fed. R. Civ. P. 26(b)(5); In re Santa Fe Int’l Corp., 272 F.3d 705, 710 (5th
Cir. 2001) (“A party asserting a privilege exemption from discovery bears the burden of
demonstrating its applicability.”). This also make sense in practice, for the United States is much
better able than BP to identify Quantification documents referenced on its logs — after all, the
United States can inspect withheld documents, while BP cannot.

        Accordingly, in light of this Court’s recent order (Docket 6228), BP would respectfully
request that the United States, first, reasonably review all privilege log entries from the over
100,000 entries on its privilege logs 12-40 in order to identify documents reflecting an assertion
of a deliberative process privilege that is of potential relevance to Quantification issues and, next,
make appropriate determinations as to whether or not to release all such documents.

        In particular, as the United States reviews its privilege logs for Quantification entries, BP
respectfully requests that it not confine its review solely to those documents appearing in the
“rough-and-ready cut” that BP submitted at the Court’s request and which BP described as “very
preliminary and subject to change.” See Attachment 1, R. Gasaway Ltr. to Hon. S. Shushan and
S. Himmelhoch (Mar. 23, 2012).

       To further assist the Court and United States, however, we are attaching to this letter an
updated version of BP’s quantification issue/deliberative process privilege spreadsheet. See
Attachment 2.

        As you will see, this new version of the spreadsheet contains 13,991 entries, which is up
slightly from the last version containing 13,124 entries. This new version, like the March 23
version, is intended to segregate and identify United States privilege log entries reflecting an
assertion of the deliberative process privilege of potential relevance to Quantification issues.

        No doubt, this version, like the March 30 version, is an approximation that is both over-
inclusive and under-inclusive. BP nevertheless provides it in good faith and as an indication of
BP’s best current thinking regarding which United States deliberative process privilege log
entries relate to Quantification issues.

       Next Steps

       We understand from our discussion with the Court yesterday that the United States agrees
on the practical effect of BP’s legal position as stated in BP’s brief of March 29, 2012 (Dkt. No.
6148). And we appreciate the United States’ willingness to review its privilege logs in light of
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this general agreement on legal principles and the United States’ decision (correct, in our view)
to release all 100 of the documents BP had submitted for in camera review.

        We therefore look forward to receiving by May 15, 2012, revised privilege logs, all
released documents, and declarations supporting any documents still retained by the United
States under a claim of deliberative process privilege.

        To the extent there are questions regarding this spreadsheet or the best way forward on
deliberative process privilege issues, BP will be prepared to discuss those issues and questions
on Tuesday.

                                                    Sincerely,




                                                    Robert R. Gasaway

Cc (via electronic mail)

R. Michael Underhill
Steven O’Rourke
Robin L. Hanger
A. Nathaniel Chakeres
Bethany Engel
Tomas Benson
Joel M. Gross
Allison Rumsey
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                                                         March 23, 2012

          By Electronic Mail

          The Honorable Sally Shushan
          United States District Court
          Room B345
          500 Poydras Street
          New Orleans, LA 70130

          Sarah D. Himmelhoch, Esq.
          Senior Litigation Counsel for E-Discovery
          Environment & Natural Resources Division
          U.S. Department of Justice
          P.O. Box 7611
          Washington, DC 20044-7611

                           Re:      Follow Up To Yesterday’s Written Discovery Call

          Dear Judge Shushan and Sarah:

                  On yesterday’s written discovery call, the Court requested that BP provide answers to
          certain questions and follow-through regarding certain tasks. This letter provides some initial
          answers and status updates as to those requests.

                 Status of Rule 30(b)(6) Notices

                  As requested, BP circulated the current draft of the Rule 30(b)(6) Notice to the United
          States yesterday afternoon. BP understands that the United States and State parties will discuss
          the current draft of the Rule 30(b)(6) Notice to BP at today’s Working Group Conference.

                  As an additional step, BP plans to update the Court and parties next week as to the non-
          BP, non-United States, Rule 30(b)(6) notices insofar as those notices pertain to Quantification
          topics.




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Sarah D. Himmelhoch, Esq.
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       Possible “Zantaz Model” for Addressing Custodian Issues

        The Court requested that the BP and the United States consider employing a collaborative
“Zantaz Model” to the issue of obtaining timely custodial productions from United States
custodians. The short answer is that BP believes that the Zantaz Model is a useful one for
addressing the discrepancies the parties are seeing in the United States’ productions. BP agrees
with the United States that a party-to-party technical conversation is the most appropriate first
step in tackling this issue.

       Deliberative Process Privilege Review

       The Court also requested that BP provide additional information regarding our March 22,
2012, proposal for accomplishing an accurate, expeditious review of a representative sample of
Quantification documents withheld under the deliberative process privilege.

        We mentioned yesterday morning that BP’s aim in forwarding this proposal is to replace
entirely its earlier March 7, 2012, privilege review proposal with a new proposal more to the
Court’s liking. BP aims though this proposal to suggest a process for accurately and efficiently
evaluating tens of thousands of potentially suspect privilege claims as they relate to Phase 2
Quantification documents.

        With this aim in mind, we propose to choose for full documentation and adjudication a
sample of 50 to 100 privilege claims that will be sufficiently representative so as not to require
the full documentation and adjudication of the thousands of remaining Quantification documents
withheld under claims of deliberative process privilege. In other words, we will try to choose 50
to 100 documents that will permit the extrapolation of the results of privilege determinations for
this comparatively small document set to, as much as possible, a much larger document universe
that BP (currently) estimates to number 13,124 documents.

        Naturally, BP specifically reserves its right to bring additional deliberative process
privilege challenges, and, as a general matter, BP reserves its right to challenge any entry on the
United States privilege logs numbered seven or higher.

       With that as background, attached to this letter is an Excel spreadsheet with
approximately 13,124 entries that we believe, more likely than not, reflect Quantification
documents withheld by the United States under a claim of deliberative process privilege.

       As emphasized yesterday morning, BP views this list as very preliminary and subject to
change. We do not believe the list contains all privilege log entries that reflect Quantification
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Sarah D. Himmelhoch, Esq.
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documents withheld by the United States under claims of deliberative process privilege. Nor do
we believe the list exclusively reflects such documents. What we do think is that this represents
a respectable rough-and-ready cut, even though it will ultimately be proven both under- and
over-inclusive. We provide it, at the Court’s request, with these understandings.

                                        *   *   *   *   *

       We hope this information proves helpful. Please do not hesitate to contact us with further
suggestions regarding ways to expedite the Phase 2 discovery process.

                                                    Sincerely,




                                                    Robert R. Gasaway

cc (via electronic mail):

Michael O’Keefe                      Joel M. Gross
R. Michael Underhill                 Allison B. Rumsey
Steven O’Rourke                      Don K. Haycraft
Robin L. Hanger                      Plaintiffs’ Liaison Counsel
A. Nathaniel Chakeres                Defense Liaison Counsel
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 Attachment 2
 (Excel spreadsheet attached to the
         forwarding email)
